Th

aT”

Case 4:22-cv-02127 Documenti1 Filed on 05/10/22 in TXSD_ Pa

ee OL / 4 M15) I pv CO:
op. pire: 2 Lappy Liles pes oe

LAV EI2L nl YDS LOYD. itp

pene

MAY 1 0 2022

tes lates LOL Tat a

‘haloes Keo oe
follies — a oo seme Gefen

Wea if

i Leach!

iat Ours 1 Seni sutlilunnia!,
a Ly CELL (Leahy eal ane is

/
a ‘Blea? Hie _
ZL Lb, bf, Mfdippaastesf neue lps
—glewengay pat A Ddéglay Ale piliales- Leia bop Lf
/

NO raat lls 4 (oct bait ULde

| Mies Lat Li" ti Maly bat Lily lip

“tt

VN) hike wise! Baga Leaphslie fates byl akey/ we
YL Ast diane). Mdetes SAIS MMMUS /

liu lili Md ULf, (olalomapate

/ +
A, i LE LULWALE: eB L, Yorcsnshs/anaepaldiy panel. serra eee
/

/

Ki

Case 4:22-cv-02127 Document1 Filed on 05/10/22 in TXSD |
|

i

ge 2 of 7

if hills

SS

Liha, /

co UM ebssvees ish VM ALAM ES,

Dy

Oy il. LDU tase

e whe Gea)! EAL. Bac Mb Cb se LEAD
4 Lb bcirs LL > CX big. Gaye ahi Mh De nee Md, ULed, Lo

on wee ee De Ze 0, MeL Arann PL of. 7 .

a LLY. Ltt a. ee

Bilabhac: ae Le ‘ib Lu: ied: o
it tr Ai C2 tye, EVs unk LMG eee cee pie ee wnt

_ hatha hes Obes ptbaut C1: i

LW? MY x 2 YALA,

Mtl.

Soren lio Aad, Lou, aly Lill “Ss

oe LB 222. Oe

eB be Cah Lotus Mf

cece ee eee 0) Lit smi ye y Cte. - L “sg. Sie a the, Ve Le ee ween

wee ee, . éebld was el

Ail WOE vcnoeesecnumeneenen a

woe teen Ls YOR. oo conan,

ve eth MOL an
Ayer. “
wn BIE

ce 6) hake De

Pr Gove: LLndool tila tecele gd Ube Lrnahe

=

rf, perepel

‘L) (22)

_. “Tonk lapetusdinpes snag CLL ELLMLASID be,

Ce al /3. J Mee avon; pace

WRDLRII GY Uiprasg
; f
C¢f. é2 UEEE. alk: ip

fh
cee ee AWE 427). of we ie “A POLGUCCHODE. ‘genLeay heat i.

” MCB Me:

ee ppig dal

’
Merge! .

AE phe

ME PoE rapt torre: bbq. au
pene nnn i. by Yes. ZA lana. Craw, Hi be he! Leona. Ws. Luter

eek lay co Agen: ED De ya Lip

ce Bi Md

Case 4:22-cv-02127 Document1 Filed on 05/10/22 in TXSD Paye 3 0f 7

4,

Yi NU MEL ¥

CE aia?

I; Li ppp Meg hc olla

Ls ‘euileen # Lhe

ZL,

LEVEL

x pD ftt
Lig Md We.
i O, Ge L, Ly

LiL Lia hah fbabbialh

bits

Leah aig”

tle Lo A, Lo

shine, L

salt

sor pal

tla

Ce? /, rikreaced
L. : # J i Lord 4 WAL
yf LIT. bg) bad.
| gf, LLL A fle.

re

Case 4:22-cv-02127 Document 1 Filed on 05/10/22 in TXSD Page 4 of 7

|

|

stil fe Mo. WMLLE 2 —/, “tao fener. lagi sports at! ie 4

‘(BC WA CY. eH 4 SOMILIL SS. pag yillu4

Ap she sere ye MCA a fiplans ‘Mane EO. Lids be (Cae a
_ allag GLAAD hee a Wi AL pes “asett ve Lh GA hbo by Menaah ha J ZL

Abs

_—- ‘VSfives fepele AL (ial ded cals fai Cfacd: bff sen”

baw [

Ze Lb y sbfou be Mey
Zi LEGA Go Lily GbbC2 sete 4/ Joys. fetl: Viet et ide
(f

wee ty) Mprnatonntraécl J,

(os ippaatiaia yo

ee ab ¢ ol,

ye 7
Nove Lotte Li Ge Li. vl les len eyalemah nile LEe Sa fs 9, Ld o/

ee fe PRMD ME) yesspabiy lect 7 J

Z

pe po a on

Bi tessa eyes egal

te ‘fhe C hal AL. ie aotainden Z 4) td: Ugonfls le 290. ‘pews.
ot cD Z

gle.

stall LEIASUIV If

/ Spd: MNjeh! bade lon LG, Ly;
ah fa Lise | Sin Fateh Me dys Lo Lher a6, Les
\Yrslagal dg Mbt Uh 1277 iL. MA pease Dh Ae

TF
ghitey st Mel
Aad.

WY MLA

Tel : hort, f ‘cll, lab

Lo. Lue ‘tp Yih dei Maudlec chs col oA

- C Lilia. jolt C8 ACHE PE Peep Hi Lb fel Jo 2)

we eee biden Le Me AP ML, safle. 2a lap, boul CEd MES ——- Lal

GL) L.

co Lb Cy Lis) Msp led, Med M3. 3S LY LYE BIEL. vi) .
“a: Weasd, ehz Jn fect lal! barabern be eulldlas 4

EL rma
_f

nn es atl Devas Le Line fe A heir 1 Lesa: LCEDS Gieflg ert. saan ke upd
ZAC

{¢ Lhe lab Sabo ait pease tes ieaptadien,

a

hwo!

Case 4:22-cv-02127 Document1 Filed on 05/10/22 in TXSD Pa

ge 5of7 |

. op PE
Net aL
Si me
poste peal AG. Vee ai! WL 288d, Z.
von wee Yd rustle plete oF bok laaih dt, Le Qi d, Cisf. bp, rgd, P32 ke !
ae AY fi eflabrt bh tha ai, wha jee wapege nodose: ". of fp (thal. aan neneeceeee
wae oun Cpenans Pf Db ie&, GES LL Le bie: “75, /. fe Sy, GL, poker pinacgl.
_ .
oe 2 LIL? 3.0 x HULU, oak, eet
- : C phe bobo fbi oe
|

Mees One j ofp bag oy Lif 0 ee 54 (c ae eS Pe

a 7 ey ww ta slit lie ei a he bole v Pht e
[pet Uh. Pe ffpeeiosee td

/- Ahi

-£ ZB a
W sigeny) /Mocation: if _ Shbject: //, Hii pe
fi Mia ARCL vypAres// ROK? . @ oo Prarensy/ f Ady “Abta tf a
LO -

ee

(ITAL

\Wesignea//” /Plag Mi, - Ret Hf . Matuss)
| | ory Ney SU,

Ss -
SS

3 */s ARCOS: BAPE OITA iy iebnphavlohustty oe .
4 (doit A havelany, See i

“S0r Daca oe Tier
/ wi\Fleo Wt aoe

F fetid fe 42,25 108, FO

; J Ay

fobs

—_ fosips: fedgecchangcte outils Oo dt LIL b

4:22- IBY S HH d on 05/10/22 in TXSD Pepe v, fF
how [PELE BG BOP S Sa

a 713] Mtoe p)

| / Pop serfiderangy”

é esident:/ Location, ibject:/
TRaaneaybanmes BOY 7 “ayers C0 sfumbey/ Eby
Kev yrAsy/ mylene

VAssignedj/ eel, BY W iy |

/MARCUS/BATES (917749) 44/4 rsrr02fe: i:4yooicty |

aw/ifgesnyhawryerfrumberfand/hddress/thank fou/

Mev inioruken/

AA ONdeniGhovesy/

Feb Mf BUS/
ONG RABY

ie PROG bo B28
/ https://edgeexchange.keefe.cloud/fusion/thread/list //

SN

Align

